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                                      Prunssfotck ^tlitoton

              WESTLEY KAYEON KENNEDY,

                        Movant,                            CIVIL ACTION NO.: 2:15-cv-30


                   V.



              UNITED STATES OF AMERICA,                    (Crim. Case No.: 2:14-cr-12)

                        Respondent.


                                              ORDER


                   After an independent and de novo review of the entire

              record, the undersigned concurs with the Magistrate Judge's

              February 1, 2018 Report and Recommendation, dkt. no. 22, to

              which Movant Westley Kayeon Kennedy {""Kennedy") failed to file

              Objections.   Kennedy has filed a Second Motion for Extension of

              Time to file Objections.      Dkt. No. 25.   However, the Court

              already granted Kennedy additional time to object to the Report

              and Recommendation.      Dkt. No. 24.   Kennedy has not sufficiently

              explained why he needs another extension.        Indeed, Kennedy has

              not even outlined what arguments he intends to raise or what

              portions of the Report and Recommendation he intends to contest

              Thus, the Court DENIES his Second Motion for Extension of Time.




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    The Court ADOPTS the Magistrate Judge's Report and

Recommendation as the opinion of the Court.       The Court DENIES

Kennedy's 28 U.S.C. § 2255 Motion to Vacate, Set Aside, or

Correct his Sentence.    The Court DIRECTS the Clerk of Court to

enter the appropriate judgment of dismissal and to CLOSE this

case.   The Court DENIES Kennedy in forma pauperis status on

appeal and a Certificate of Appealability.

     SO ORDERED, this             day of     AAo(Aa           f 2018.



                                               WOOD, JUDGE
                               TEDySTATES DISTRICT COURT
                               THERN DISTRICT OF GEORGIA
